          Case 1:23-cv-01397-JLH Document 3-1 Filed 12/07/23 Page 1 of 2 PageID #: 347

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                          District
                                                    __________     of Delaware
                                                               District of __________

    PRISONERS LEGAL ADVOCACY NETWORK                                   )
                                                                       )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                            Civil Action No.
                                                                       )
    THE HONORABLE JOHN CARNEY, THE                                     )
  HONORABLE ANTHONY J. ALBENCE, and THE                                )
        HONORABLE TERRA TAYLOR                                         )
                                                                       )
                           Defendant(s)                                )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) THE HONORABLE JOHN CARNEY
                                           Governor Executive Office
                                           Tatnall Building
                                           150 Martin Luther King Jr. Blvd.
                                           Dover, DE 19901



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Emily S. DiBenedetto
                                           Shaw Keller LLP
                                           I.M Pei Building
                                           1105 North Market Street, 12th Floor
                                           Wilmington, DE 19801


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.




                                                                                                 &/(5.2)&2857

Date:                                                                                            V5DQGDOO&/RKDQ
                                                                                           Signature of Clerk or Deputy Clerk
            Case 1:23-cv-01397-JLH Document 3-1 Filed 12/07/23 Page 2 of 2 PageID #: 348

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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
